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WoLrFrFr & SAMSON PC
One BoLtanpD DRIVE

West ORANGE, NU 07052
(973) 325-1500

Attorneys for D.S.C. of Newark Enterprises, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE UNITED STATES OF AMERICA, Case No. 12-cv-05407 JLL-MAH
Plaintiff,

VS. DECLARATION IN SUPPORT OF

CORNELL-DUBILIER ELECTRONICS, INC., D.S.C. OF NEWARK ENTERPRISES,
INC.’S MOTION TO INTERVENE

Defendant.

 

 

John A. McKinney, Jr., of full age hereby declare as follows:

1, I am an attorney-at-law of the State of New Jersey and a member of Wolff &
Samson PC, attorneys for D.S.C. of Newark Enterprises, Inc. (“DSC”). As such I am
personally familiar with the facts set forth herein. I submit this Declaration in support of
DSC’s motion to intervene in the above-captioned action.

2. Attached hereto at Exhibit A is a true and correct copy of the Complaint in this
matter.

3, Attached hereto at Exhibit B is a true and correct copy of the Letter of Robert S.
Sanoff, Esq. to Sarah P. Flanagan, Esq., U.S. Environmental Protection Agency (“EPA”) dated
December 13, 2004 (“Sanoff Letter”), without exhibits. The Sanoff Letter together with all

exhibits is included within DSC’s Federal Comments at Exhibit G hereto.

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4, Attached hereto at Exhibit C is a true and correct copy of the “Notice of
Potential Liability” from EPA to DSC dated February 4, 1997.

5. Attached hereto at Exhibit D is a true and correct copy of a “Report of Title”
that contains a true and correct copy of the “Notice of Federal Lien — Record in Mortgage
Book” dated January 25, 2005.

6. Attached hereto at Exhibit E is a true and correct copy of the Proposed Consent
Decree.

7. Attached hereto at Exhibit F is a true and correct copy of the “Amended Notice
of Lodging of Consent Decree under the Comprehensive Environmental Response,
Compensation and Liability Act of 1980, 42 U.S.C. §§ 9601 et seq.,” 77 Fed. Reg. 58409-
58410 (September 20, 2012).

8. Attached hereto at Exhibit G is a true and correct copy of DSC’s Federal
Comments dated October 18, 2012.

9. Attached hereto at Exhibit H is a true and correct copy of the “Notice to Receive
Interested Party Comments On Consent Decree for Reimbursement of Response Cost and
Natural Resource Damages in Middlesex County, New Jersey Department_of Environmental
Protection v. Cornell-Dubilier Electronics LLC, Civil Action No. 12-5407 (D.N.J.),” 44 NUR.
2312(c) (October 1, 2012).

10. Attached hereto at Exhibit I is a true and correct copy of DSC’s State Comments
dated October 26, 2012. DSC’s Federal Comments, which are referenced and incorporated

within the State Comments but are not attached, appear at Exhibit G hereto.

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11. Other than the filing of the Complaint, a notice of appearance by counsel to the
United States and the Proposed Consent Decree on August 28 and the filing of the summons
issued to CDE on August 29, no other events have occurred in this matter as of the date of this

declaration.

Wolff & Samson PC
Attorneys for D.S.C. of Newark Enterprises, Inc.

By: /s/John A. McKinney, Jr.

John A. McKinney, Jr.
Dated: November 20, 2012

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